IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL

FOUNDATION,
Plaintiff,
v. : NO. 1:19-CV-00622
KATHY BOOCKVAR, in her official : JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, : ELECTRONICALLY FILED

JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for
Elections and Commissions, and the
BUREAU OF COMMISSIONS,
ELECTIONS AND LEGISLATION,

Defendants.

DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

Daniel T. Brier

Donna A. Walsh

Suzanne P. Conaboy
Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503

Counsel for Defendants,

Acting Secretary Veronica
Degraffenreid and Deputy Secretary
for Elections and Commissions
Jonathan M. Marks
TABLE OF CONTENTS
INTRODUCTION .........cccsccccsssccesnsecessecesscsssscesseessseeesseeessaeeeesesenesesenaeeeesaeeseaeeaneees 1
ARGUMENT. uu... .ceccccccccscessseccssnseeeseeesssseeneccnsneessaeeeseeeeseeeeeseeeeeeaseseeeeeneeeeneneseneeeenege 2

1. PILF’s NVRA Request and Its Motion for Summary Judgment
Mischaracterize Pennsylvania’s List Maintenance Programs.............. 2

Il, PILF Is Not Entitled to “All” Records Outside Statutory
Exemptions and It Is Not the Commonwealth’s Burden to Prove
That Undisclosed Records Fit Within an Exemption............cceeeeee 3

Il. The Department of State Produced Documents Sought by PILF
That Are Within the Scope of the Public Disclosure Provision........... 5

A. Documents relating to the “matching analysis” that are not
derived from driver records have been produced... 5

B. Documents received from counties relating to requests for
cancellation due to non-citizenship have been produced........... 8

C. The Department of State has no responsive communications
with jury selection Officials .........:ccceeeeeeeteteeeeeeeensterereenes 10

D. The Department of State has no responsive communications
with law enforcement Officials 0.0.0.0... ceeseeseseneeeeteeeteeeseenreeees 11

E. Defendants are entitled to summary judgment.......... cece 11

IV. PILF Is Not Entitled To Access Any Additional Records Relating

to the Matching Analysis ..........ccessecsssereeseeteeseeeenetsersstsstsersenesneeeees 12

V. — There Is No Legal or Factual Basis To Void the Attorney-Client
Privilege or Work Product Doctrine........cccseserereeetrteseenereeeneenes 13
CONCLUSION ....ccceccceccccsscsscesscessessscneeecsscenscnseessscssecesseessensecnsecsaeensecsassesenessessaees 19
TABLE OF AUTHORITIES

CASES
Ager v. Jane C. Stormont Hosp. & Training Sch. for Nurses, 622 F.3d 496

(LOth Cir, 1988) o.ececesessseseenesessetseeneneetereesessesessssensssssesesensreneneneneasereneeeseseetes 15
EMC Ins. Co. v. Zicolello, No. 13-CV-825, 2014 WL 123687 (M.D. Pa.

Jar. 14, 2014) ..ccccescscscsesesscscsesstsssseesessssseeneceeecnensnssssessnenesssnsneneenenenseesesesesenseeey 17
Inre Grand Jury Proceedings, 604 F.2d 798 (3d Cir. 1979)...csscsseseeereeeeeen 16
Haines v. Liggett Grp., 975 F.2d 81 (3d Cit. 1992)... sceesseseseessersseeneretecnserenenens 14
Heinzl v. Cracker Barrel Old Country Store, Inc., No. 14-CV-1455, 2015

WL 6604015 (W.D. Pa. Oct. 29, 2015)...cccecceererereesreneseteneetenetseneneensenenesens 16
Lamie v. U.S. Trustee, 540 U.S. 526 (2004) ....cecceccssteetesneenenerreessensseneeteessenseeneenes 4
Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320 (N.D. Ga. 2016)... eeceeeeeeeeeees 4

Project Vote/Voting for Am., Inc. v. Long, 752 F. Supp. 2d 697 (E.D. Va.

Public Interest Legal Found. v. Boockvar, 431 F. Supp. 3d 553 (M.D. Pa.
2019) .ccccccssecsersreeceersressssssesssseseseeeetenenensnsesnsnsnsssssscssessesessreseasneneagaceees 1,3, 6, 7, 12

Rhone-Poulenc Rorer Inc. v. Home Indem. Co., 32 F.3d 851 (3d Cir. 1994) .. 16, 17

Inre Teleglobe Comme ’ns Corp. , 493 F.3d 345 (3d Cir. 2007)... essences 14
True the Vote v. Hosemann, 43 F. Supp. 3d 693 (S.D. Miss. 2014)... cee 3,7
Upjohn Co. v. United States, 101 S. Ct. 677 (1981) .seesseseeseseeteeneeeeeenentesenenes 14

Utesch v. Lannett Co., Inc., No. 16-5932, 2020 WL 7260775 (E.D. Pa. Dec. 9,
Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414 Gd Cir.

L991) iccccccscssssssseteeseeseeseacseecssssesesenssesenereesenseenenensnensseserssassesesearannensncnensengsssseseests 17
STATUTES

5 ULS.C. § 551 Cf SOQ. cccssescseessssesenesseensssenensenesseneeneeseesssnessessesteeeenesseenessenenenseneseeenes 4
5 U.S.C. § 552(a)(4)(B) ..ecccescssseesesscsesssseseesessssesenseeeeeesesensessseenesssssessensnenenenerenten acess 4
LS U.S.C. § 2721 cecccccsscescscscecccsesssssesseeceesesseesseneneseceseeesssenssssseenseessenenensnenesessenenneegs 3
18 U.S.C. § 2721(a) ..ccccccsscscecncseectscsssesscseessssesensnsensssenecssesensessssesseesnenesrenenenreneesenaees 6
18 U.S.C. § 2725(3)..cccsccccsccesecceseccssessscsssseseessseesenseensenersseecesssessessenscsenesseneneeneasnee sates 6
52 U.S.C. 20507 (A)(1) oc eeeeescecseessescrssseeeseeesessessensenecteeeensssecsesssenesrenaenees 1,3,4, 7, 10
25 Pa. C.S.A. § 1203(a)..scecceccsscssssscsensesensesenesssnseeeesserseeeseessseesessesseseneeseneseeneneceeess 8
25 Pa. C.S.A. § 190] ccccccsecccensscesesscssssessesecsessecseserseeeerssesesssssessesseeesseseeseenenees 2,9
25 Pa. C.S.A. § 1901 (a) ...cccecsceessecescsseesseesenecseeeesesseasseessesssessssessessenessenersennsnee sees 9
25 Pa. C.S.A. § 1901 (a)(1)-(4) oe eeeccccccssessereeeeeeeecneetertersesseersesesseeeesenessenseneneeeraees 2
25 Pa. C.S.A. § 1901(D)....cccecceecesessessesesensesessesesessessenecassaenecsassassseeessnesesseeesnenenee cates 2
Fed. R. Civ. P. 26(a)(1)(A)G) occ eeeeeesceseseessereecessenecneeseesenaersesesseseesessenessensenenes 15, 16
Fed. R. Civ. P. 26(b)(4)(D) (ii)... eescsesesceseeseneeseneenenenseneenecsessensensesesenseenesseeneen gens 16
LR. 7.8(a)sccccccesesesetcececneeseeeesssecssscssseseseneneneneeeneesesenensnecsesesessesssensenenssenenensesasnenens ents 17

iil
INTRODUCTION

Relying on conjecture, assumptions and generalities, Plaintiff Public Interest
Legal Foundation (“PILF”) urges the Court to enter summary judgment in its favor
and order Defendant Acting Secretary of the Commonwealth Veronica
Degraffenreid'! and Deputy Secretary Jonathan M. Marks to disclose additional
unspecified records pursuant to the public disclosure provision in the National
Voter Registration Act ((NVRA”), 52 U.S.C. § 20507()(1). PILF misreads the
NVRA and ignores that the Department of State has already produced records
identified in this Court’s decision granting in part and denying in part the Acting
Secretary’s Rule 12(b)(6) motion. See Public Interest Legal Found. v. Boockvar,
431 F. Supp. 3d 553 (M.D. Pa. 2019).* For the reasons below and in the Acting
Secretary’s own motion for summary judgment (ECF 62, 64), PILF’s motion
should be denied in its entirety and summary judgment should instead be entered in

favor of Acting Secretary Degraffenreid and Deputy Secretary Marks.

 

!_ The Complaint in this matter names Kathy Boockvar as a defendant in her
(then) official capacity as Acting Secretary of the Commonwealth of Pennsylvania
(she was later named Secretary of the Commonwealth). Compl. (ECF 1) 4 6.
Secretary Boockvar resigned from office on February 5, 2021. Acting Secretary
Veronica Degraffenreid was appointed on February 8, 2021. Pursuant to Federal
Rule of Civil Procedure 25(d), Acting Secretary Degraffenreid is “automatically
substituted as a party.”

2 Neither production of the records in discovery nor references to the
production in briefing should be construed as a waiver of the right to appeal all or
part of the previous ruling.
ARGUMENT

I. PILF’s NVRA Request and Its Motion for Summary Judgment
Mischaracterize Pennsylvania’s List Maintenance Programs.

PILF misapprehends Pennsylvania law and existing voter removal programs
in repeatedly mischaracterizing the Department of State’s special investigation of
the PennDOT Motor Voter software error as statutory “list maintenance.” See
PILE Br. (ECF 67) at 2 n.1, 4, 14, 16, 18, 19, 23. Voter list maintenance in
Pennsylvania is mandated and regulated by statute. See 25 Pa. C.S.A. § 1901. The
General Assembly specifically directed that voter registrations “shall not be
canceled except” at the request of the elector, upon the death of the elector, upon
confirmation that the elector has moved outside the county or under a voter
removal program designed to identify electors whose addresses may have changed.
25 Pa. C.S.A. §§ 1901(a)(1)-(4), (b). There is no state statute that imposes a
systematic and regular process to identify and remove non-citizens from the voter
rolls and Pennsylvania has no such list maintenance program. To the extent PILF
seeks “list maintenance” records relating to removal programs aimed at non-

citizens, there are no records to produce.
ll. PILF Is Not Entitled to “All” Records Outside Statutory
Exemptions and It Is Not the Commonwealth’s Burden to Prove
That Undisclosed Records Fit Within an Exemption.

Unable to identify any documents within the scope of the NVRA disclosure
provision that have not already been produced, PILF moves the target and now
argues that it is entitled to all records that relate to potential non-citizens who may
have inadvertently registered to vote unless the Acting Secretary proves an
exemption. ECF 67 at 10. PILF is wrong on both points.

PILF is wrong in claiming a right to automatic disclosure of “all requested
records” not expressly exempted. Id. at 3. The NVRA requires that states “make
available for public inspection . . . all records concerning the implementation of
programs and activities conducted for the purpose of ensuring the accuracy and
currency of official lists of eligible voters... .” 52 U.S.C. § 20507 (i)(1). The
NVRA is not “a tool to root out voter fraud... or any other . . . allegedly illegal
activity associated with casting a ballot on election day” and does not require
disclosure of voting records from any particular election or records not “used to
update or maintain the voter roll.” True the Vote v. Hosemann, 43 F. Supp. 3d 693,
722-28 (S.D. Miss. 2014). Nor does the NVRA override or nullify privileges or
privacy protections. As this Court has already concluded, the NVRA does not
compel production of records protected by the Driver’s Privacy Protection Act

(“DPPA”), 18 U.S.C. § 2721. 431 F. Supp. 3d at 562-63; see also Public Interest
Legal Found., Inc. v. N. Carolina, 996 F.3d 257, 267 (4th Cir. 2021). And the
NVRA does not require production of sensitive personal information. Indeed,
uniquely sensitive information in otherwise disclosable documents, including
personal identifiers and information that may lead to harassment or may impute a
suggestion of criminality, may properly be redacted. See Public Interest Legal
Found, Inc. v. N. Carolina, 996 F.3d at 267; Project Vote, Inc. v. Kemp, 208 F.
Supp. 3d 1320, 1345 (N.D. Ga. 2016); Project Vote/Voting for Am., Inc. v. Long,
752 F. Supp. 2d 697, 711-12 (E.D. Va. 2010). Further, the NVRA public
disclosure provision only requires states to maintain documents relating to covered
programs and activities for two years. 52 U.S.C. § 20507(i)(1). PILF is plainly
not entitled to all documents in the Commonwealth’s possession that are not
expressly exempted.

PILF also errs in seeking to avoid its burden of proof under the NVRA and
under Rule 56 by analogizing its claim under the NVRA to a claim under the
Freedom of Information Act (“FOIA”), 5 U.S.C. § 551 et seg. ECF 67 at 5-6. The
inapt analogy to FOIA in this context fails. While FOIA likewise recognizes
personal privacy protections, that statute specifically imposes on public agencies
the burden of establishing that withheld agency records fall within a specific
statutory exemption. 5 U.S.C. § 552(a)(4)(B). There is no such burden-shifting

provision in the NVRA. Nor can such a provision be implied. Lamie v. U.S.
Trustee, 540 U.S. 526, 538 (2004) (rejecting proposed construction of statute that
“would have us read an absent word into the statute”). Therefore, unlike FOIA
actions, PILF bears the burden of establishing that the voter records and privileged
communications and materials it secks are subject to disclosure under the NVRA
and PILF has not satisfied and cannot satisfy its burden.

II. The Department of State Produced Documents Sought by PILF
That Are Within the Scope of the Public Disclosure Provision.

PILF argues generally that it is entitled to additional records under the
NVRA but does not account for the records it has already received and fails to
demonstrate any statutory right to access any additional records.

A. Documents relating to the “matching analysis” that are not
derived from driver records have been produced.

The first category sought by PILF are “[d]ocuments regarding all registrants
who were identified as potentially not satisfying the citizenship requirements for
registration from any official information source, including information obtained
from the various agencies within the U.S. Department of Homeland Security and
the Pennsylvania Department of Transportation. . . .” Compl. {| 69 & Ex. H. PILF
later clarified that it is seeking “results (full or interim) from . . . an official
‘review’ of voter data compared against PennDOT’s database of customers to
identify voters with matching driver profiles containing noncitizen designations.”

Compl. {82 & Ex. 1. The requested comparison of voter data and driver license
records—treferred to as “the Noncitizen Matching Analysis,” Compl. {{ 65-67,
96—necessarily involves driver license data protected by the DPPA and therefore
is not required to be disclosed.

The DPPA prevents states from disclosing “personal information...
obtained by the department in connection with a motor vehicle record....” 18
U.S.C. § 2721(a); see also 18 U.S.C. § 2725(3) (defining “personal information”
for purposes of DPPA as “information that identifies an individual ...”). This
Court has already ruled that “[t]he glitch-related information requested by PILF
contains analysis matching noncitizen’s driver’s license numbers to the driver’s
license numbers of registered voters” and “is protected from redisclosure under the
DPPA ....” 431 F. Supp. 3d at 563. Accordingly, under this Court’s ruling, the
results of the so-called matching analysis and data derived therefrom are not
subject to public inspection under the NVRA.

To the extent the Department of State possesses disclosable documents
relating to its response to the Motor Voter error that do not include or are not
derived from protected driver license records, those documents have been provided
to PILF. The Department of State has produced copies of form letters sent to
registrants informing them of the Motor Voter software issue and asking them to
confirm their eligibility to vote or request cancellation of their registration,

communications with county election officials and others concerning the letters,
public statements outlining the steps taken to investigate and address the Motor
Voter issue and numerical data showing the number of letters sent and responses
received. See Marks Decl. (ECF 64-1) § 29. Given the protections in the DPPA
and this Court’s earlier ruling, nothing more is required to be disclosed under the
NVRA.

Having received documents it asked for, PILF now claims that it is also
entitled to all records in the Statewide Uniform Registry of Electors (“SURE”)
system relating to electors whose registrations were canceled because they self-
identified as non-citizens, including voting history, correspondence sent to and
received from registrants, audit logs, uploaded documents and information about
applications submitted by the registrant. ECF 67 at 11-12. PILF assumes that,
because information is stored in the SURE database, it is automatically subject to
public access. But this is not what the NVRA requires. The NVRA requires
disclosure only of “records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of
official lists of eligible voters.” 52 U.S.C. § 20507@)(1). The new records sought
by PILF do not so qualify. As noted in True the Vote v. Hosemann, the NVRA
does not require disclosure of voting records or other documents that are not used
in programs to update or maintain the voter roll. 431 F. Supp. 3d at 725-29.

Because there is no evidence that the additional records sought by PILF were used
to register or remove voters from the voter roll or otherwise maintain an accurate
voter roll—PILF does not even make such a claim—they are not within the ambit
of the public disclosure provision.’

Put simply, PILF is not entitled to results of comparisons of driver license
records and other state databases or data derived therefrom and the Department has
already provided non-DPPA-protected records relating to actions taken to respond
to the Motor Voter issue. There is no genuine issue for trial with respect to the
first category of records sought by PILF.

B. Documents received from counties relating to requests for
cancellation due to non-citizenship have been produced.

The second category of records sought by PILF are “documents and records
of communications received or maintained by [the Department of State] from
registered voters, legal counsel, claimed relatives, or other agents since January 1,
2006 requesting a removal or cancellation from the voter roll for any reason related
to non-U.S. citizenship/ineligibility” and “any official records indicating
maintenance actions undertaken thereafter.” Compl. 470 & Ex. H. Although the
Department does not process requests for cancellation of voter registrations—only

counties are authorized to cancel voter registrations, 25 Pa. C.S.A. §§ 1203(a),

 

3 PILF suggests that Philadelphia’s records in the SURE system include “an
uploaded image that can be used to verify the non-citizen cancellation code.” ECF
67 at 12. Records received from Philadelphia County were provided to PILF in
discovery. Marks Decl. Jf 11, 33.
1901—the Department received records from counties relating to communications
addressed to the counties from persons who self-identified as non-citizens and
asked to be removed from the voter rolls. Marks Decl. §] 11, 33. Those
documents were provided to PILF during the discovery process. Id. {§j 11, 33.4 No
formal list maintenance was conducted with respect to these registrants. They had
already asked the counties to cancel their registrations, id. J 11, and list
maintenance programs in Pennsylvania are limited by statute to programs aimed at
removing the names of registrants who have died or relocated, 25 Pa. C.S.A. §
1901(a). Simply put, there are no additional records to produce in response to the
second category in PILF’s NVRA letter.

PILF does not deny that it received county communications concerning
cancellation requests and does not identify any additional records in the second
category that are required to be disclosed, other than to suggest that “[t]hese
records may have been uploaded to the SURE system.” ECF 67 at 13-14. Those
communications were already produced to PILF in discovery. There is no genuine

issue for trial with respect to the second category.

 

4 PILF received copies of those same records directly from the counties.
Compl. { 34.
C. The Department of State has no responsive communications
with jury selection officials.

The third category of records sought by PILF are “documents and records of
communication received or maintained by [the Department of State] from jury
selection officials—state and federal—since January 1, 2006 referencing
individuals who claimed to be non-US. citizens when attempting to avoid serving
a duty call,” including “official referrals” and maintenance actions taken as a
result. Compl. 70 & Ex. H. The Department of State occasionally receives
letters from jury selection officials identifying persons who asked to be excused
from jury service due to non-citizenship and forwards those letters to county
election officials for handling. The letters, however, are infrequent and irregular
and not transmitted pursuant to any regular or established program, Marks Decl.
37-38, and therefore are not within the scope of the public disclosure provision.
Nonetheless, the Department of State searched for but did not locate any letters
from jury officials in the two-year period prior to PILF’s NVRA request? or since
the request was received. Id. 40. There are no documents to produce in response

to the third category.

 

5 The NVRA requires states to maintain records for a two-year period. 52
U.S.C. § 20507(i)(1). PILF’s request for documents dating back to January 1,
2006 exceeds the NVRA’s maintenance and production requirement.

10
D. The Department of State has no responsive communications
with law enforcement officials.

The fourth and final category of records sought by PILF are
“communications regarding list maintenance activities relating to [its other
requests] [sent] to appropriate local prosecutors, Pennsylvania Attorney General,
Pennsylvania State Police, any other state law enforcement agencies, the United
States Attorney’s office, or the Federal Bureau of Investigation.” Compl. {70 &
Ex. H. The Department of State has no such records. Marks Decl. ff 42-43. As
noted in response to PILF’s requests, the Commonwealth does not have an
established list maintenance program for removing non-citizens. Id. | 44, Nor did
the Department of State communicate with federal or state law enforcement
agencies concerning persons who may have inadvertently registered to vote as a
result of the PennDOT software error. Id. 42. Accordingly, even if the records
requested were within the scope of the NVRA, there are no records to produce.

E. Defendants are entitled to summary judgment.

The Department of State has either produced records responsive to PILF’s
NVRA request or confirmed that no responsive documents exist. PILF has not
established that it is entitled to any additional records and therefore Acting
Secretary Degraffenreid and Deputy Secretary Marks are entitled to summary

judgment in their favor.

11
IV. PUILF Is Not Entitled To Access Any Additional Records Relating
to the Matching Analysis.

PILF takes yet another run at accessing records relating to matching driver
license and voter records, arguing that “registration records maintained in the
SURE system,” “correspondence among Commonwealth officials discussing
PennDOT glitch-related analysis, methodology or results,” and “raw totals” are
required to be produced “so long as ‘personal information’ was omitted or
redacted.” ECF 67 at 16. PILF’s argument is unfounded.

PILF proposes that data concerning registrants flagged through the matching
analysis are required to be disclosed, ECF 67 at 16, but that argument has already
been rejected. This Court ruled that “[t}he glitch-related records and derivative
lists created during the Commonwealth’s investigation are protected by the DPPA
- to the extent they include personal information obtained by the DMV in connection
with a motor vehicle record.” 431 F. Supp. 3d at 563. Accordingly, compilations
derived from information in the PennDOT database and comparisons between the
PennDOT database and the voter database are exempt from disclosure.

In addition, the identities of and personal information concerning individuals
who received letters are not required to be disclosed. As the Fourth Circuit
recently recognized in a similar case brought by PILF, the identities of persons
flagged as potential non-citizens are entitled to protection because such

information is susceptible to abuse. Public Interest Legal Found. v. N. Carolina

12
State Bd. of Elections, 996 F.3d 257, 267-68 (4th Cir. 2021). The Fourth Circuit
observed that “‘uniquely sensitive information’ in otherwise disclosable
documents,” including “the identities and personal information of . . . those United
States citizens who were once identified . . . as ‘potentially’ failing to satisfy the
citizenship requirement but later were exonerated,” is properly redacted and not
subject to disclosure under the NVRA. Jd. at 267. This reasoning applies squarely
here. Public disclosure of the identity of persons who received correspondence
from the Department of State asking them to affirm their eligibility or cancel their
registrations would improperly and unnecessarily expose those persons to
harassment and abuse and therefore disclosure is not required.°

The other information referenced in PILF’s brief—the letters sent to
registrants, the number of letters sent, the number of responses and the nature of
the responses—have already been produced to PILF in discovery. Nothing more is
required.

V. — There Is No Legal or Factual Basis To Void the Attorney-Client
Privilege or Work Product Doctrine.

Having failed to identify any additional documents within the ambit of the

public disclosure provision, PILF swings for the fences and asks the Court to

 

6 Indeed, PILF itself has been criticized for making false public accusations
concerning registered voters in Virginia. See Defs.’ Br. in Supp. of Mot. for
Summ. J. (ECF 64) at 14n.7.

13
compel the Department to produce communications with its outside counsel and
work product prepared by a non-testifying expert retained by outside counsel. ECF
67 at 18-23. There is no legal or factual basis to void these privileges.

The attorney-client privilege is the oldest of the privileges for confidential
communications known to common law, Upjohn Co. v. United States, 101 S. Ct.
677, 682 (1981), and is “worthy of maximum protection,” Haines v. Liggett Grp.,
975 F.2d 81, 90 (3d Cir. 1992). The privilege applies to communications that are
made between privileged persons, in confidence and for the purpose of obtaining
or providing legal assistance. In re Teleglobe Commc’ns Corp., 493 F.3d 345, 359
(3d Cir. 2007). The Department has established that outside counsel was retained
to provide legal advice concerning the PennDOT Motor Voter software error, that
outside counsel retained a consulting expert, that the legal advice and work
performed by the consulting expert were in anticipation of litigation and that
communications concerning the legal advice and expert work product were kept
confidential and not disclosed or shared with third parties. Marks Decl. {{ 15-17.
PILF does not and cannot point to any evidence that might arguably suggest
otherwise. Communications between the Department and outside counsel are
privileged and not required to be disclosed.

PILF argues that the privilege does not apply to “facts” or “actions taken,”

ECF 67 at 19, 20, but facts and actions taken by the Department of State in

14
response to the Motor Voter software error have already been identified. PILF’s
claim that voters were removed “inside a secret Star Chamber immune from public
scrutiny,” ECF 67 at 20, is creative fiction. Any voter registration cancellations
were at the registrants’ request, not as a result of an involuntary secret process.
Further, the Department of State disclosed to the public and to PILF the letters sent
to Motor Voter registrants whose citizenship status required further confirmation
and statistical data identifying the number of letters sent and responses received,
the nature of the responses and the number of letters not able to be delivered. See
Marks Decl. Exs. A-D. While the Department rightfully shielded privileged
communications and privileged work product, actions taken to inform registrants
of the Motor Voter error were not concealed.

PILF is also wrong in arguing that the Department is required to identify the
expert retained by its outside counsel. ECF 67 at 19. Disclosure of non-testifying
experts is not required absent “extraordinary circumstances.” Ager v. Jane C.
Stormont Hosp. & Training Sch. for Nurses, 622 F.3d 496 (10th Cir. 1988). No
such circumstances exist here. The names of non-testifying experts are not
relevant to any issue in this litigation and there is nothing in the NVRA or

elsewhere that permits invasion of the privilege or work product doctrine.’ PILF

 

7 PILF claims that non-testifying experts are required to be disclosed under
Rule 26(a)(1)(A)(i), ECF 67 at 19 n.7, but that is not what the rule says. That rule
only requires disclosure of experts who “the disclosing party may use to support its

15
likewise errs in proposing that the “manner and results” of any expert analysis
constitute “facts” that are not subject to any privilege. Jd. at 20-21. This is not
accurate. “[F]acts known or opinions held by an expert . . . who is not expected to
be called as a witness at trial” are not required to be disclosed absent “exceptional
circumstances” which again do not exist here. Fed. R. Civ. P. 26(b)(4)(D) (ii).
Finally, PILF argues without support that the work product doctrine does not
apply because the expert analysis was not prepared in anticipation of litigation.
ECF 67 at 21. PILF cites no evidence in the record for this assertion and there is
none. To the contrary, the uncontroverted record evidence establishes that the
Department of State’s outside counsel retained an expert in anticipation of
litigation concerning from any number of sources arising from the PennDOT
software error. Marks Decl. § 17. The expert analysis was prepared because of the

prospect of litigation and is therefore protected work product. See In re Grand

 

claims or defenses,” or in other words, testifying experts. Fed. R. Civ. P.

26(a)(1)(A)@).

8 The cases cited by PILF do not support a different result. Rhone-Poulenc
supports Defendants to the extent it holds that, where a party has not taken the
affirmative step of placing the advice of counsel at issue, it is not obligated to
produce evaluations prepared by counsel. Rhone-Poulenc Rorer Inc. v. Home
Indem. Co., 32 F.3d 851, 864 (3d Cir. 1994). The report in Heinzl was prepared by
a consultant “without any involvement of counsel” and, on this basis, was held not
to constitute attorney work product. Heinzl v. Cracker Barrel Old Country Store,
Inc., No. 14-CV-1455, 2015 WL 6604015, at *8 (W.D. Pa. Oct. 29, 2015). Neither
case supports invasion of the attorney client privilege or work product doctrine
here.

16
Jury Proceedings, 604 F.2d 798, 803 (3d Cir. 1979) (“Prudent parties anticipate
litigation and begin preparation prior to the time suit is formally commenced.
Thus, the test should be whether in light of the nature of the document and the
factual situation in the particular case, the document can fairly be said to have been
prepared or obtained because of the prospect of litigation.”) (citation omitted).
Contradicting its earlier claim that the Department’s actions were shrouded
in secrecy, PILF argues that the Department waived the work product privilege by
publicly revealing “steps . . . taken” in addressing the Motor Voter issue. ECF 67
at 22. PILF falls far short of satisfying its burden of proving waiver. EMC Ins.
Co. v. Zicolello, No. 13-CV-825, 2014 WL 123687, at *2 (M.D. Pa. Jan. 14, 2014)
(party challenging privileged communication bears burden of demonstrating that
waiver occurred).? Waiver can occur where a party voluntarily discloses privileged
communications to a third party, Westinghouse Elec. Corp. v. Republic of
Philippines, 951 F.2d 1414, 1424 (3d Cir. 1991), or affirmatively places the advice
of counsel at issue by attempting to prove a claim or defense by relying on that
advice, Rhone-Poulenc Rorer, Inc. v. Home Indem. Co., 32 F.3d 851, 863 (3d Cir.
1994). Neither happened here. The Department did not put counsel’s advice at

issue or disclose privileged communications or work product to anyone. PILF

 

9 Pursuant to L.R. 7.8(a), the unpublished decisions cited herein are
reproduced in the attached Appendix.

17
does not claim otherwise. Instead, PILF posits that the Department of State
impliedly waived the work product privilege by acknowledging that the software
error may have allowed persons to inadvertently register to vote and by issuing a
press statement describing letters sent to registrants and actions taken in relation to
the letters. PILF’s SOMF (ECF 66) § 7, 63 & Ex. D. As a matter of law, this is
not a waiver. See, e.g., Utesch v. Lannett Co., Inc., No. 16-5932, 2020 WL
7260775, at *11 (E.D. Pa. Dec. 9, 2020) (public statement referencing results of
internal investigation without actually disclosing confidential communications or
work product does not constitute waiver).

PILF is not entitled to privileged communications between the Department
of State and its counsel or facts known or opinions held by non-testifying experts

retained by the Department of State’s counsel.

18
CONCLUSION
For the reasons above, PILF is not entitled to summary judgment and its
motion should be denied.
Respectfully submitted,

/s/ Donna A. Walsh
Daniel T. Brier
Donna A. Walsh
Suzanne P. Conaboy

Counsel for Defendants,

Acting Secretary of the Commonwealth
Veronica Degraffenreid and Deputy
Secretary for Elections and Commission
Jonathan M. Marks

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503

(570) 342-6100

Dated: June 14, 2021

19
CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)(3)
I, Donna A. Walsh, hereby certify that the foregoing Memorandum in
Opposition to Motion for Summary Judgment is in compliance with Local Rule
7.8(b)(3). The brief contains 4230 words as computed by Microsoft Office Word.

/s/ Donna A. Walsh
Donna A. Walsh

Date: June 14, 2021
CERTIFICATE OF SERVICE
I, Donna A. Walsh, hereby certify that a true and correct copy of the
foregoing Memorandum of Law in Opposition to Motion for Summary Judgment
was served upon the following counsel of record via the Court’s ECF system on
this 14th day of June 2021:

Kaylan Phillips, Esquire

Noel H. Johnson, Esquire

Public Interest Legal Foundation
32E Washington Street, Suite 1675
Indianapolis, IN 46204

Linda A. Kerns, Esquire

Law Offices of Linda A. Kerns, LLC
1420 Locust Street, Suite 200
Philadelphia, PA 19102

/s/ Donna A. Walsh
Donna A. Walsh
